                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

United States of America,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )          No. 10-00320-16-CR-W-DGK
                                              )
Frank Alvarez,                                )
                                              )
       Defendant.                             )

                                          ORDER

       Pending before the Court are Defendant’s Motion to Dismiss for Violation of Due

Process of Law (Doc. 230), the Government’s response (Doc. 242) and United States Magistrate

Judge Robert E. Larsen’s Report and Recommendation recommending that the motion be denied

(Doc. 326).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Larsen’s Report

and Recommendation be ADOPTED. Defendant’s Motion (Doc. 230) is hereby DENIED.

       IT IS SO ORDERED.

Date: September 13, 2011                      /s/ Greg Kays
                                              GREG KAYS, JUDGE
                                              UNITED STATES DISTRICT COURT




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